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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION




 UNITED STATES OF AMERICA,
                                                    CR 14-27-BU-DLC-7
                       Plaintiff,

        vs.                                          ORDER

  KRISTJAN THORKELSON,

                       Defendant.

      Before the Court is Defendant Kristjan Thorkelson's ("Thorkelson") Motion

for Reconsideration of Travel Request (Doc. 202). After pleading guilty to

Misprision of a Felony in relation to selling counterfeit cancer medications into the

United States, this Court sentenced Thorkelson to five years of probation, with the

first six months to be served in home confinement, on April 13, 2018. (Doc. 189 at

1-2.) On October 13, 2018, Thorkelson completed his six months of home

confinement. (Doc. 203 at 2.) On October 22, 2018, this Court received a request

that Thorkelson be allowed to take two trips to Barbados, one from November 2

through 10, 2018, and another from December 27, 2018, through January 5, 2019.

This request was denied.

      Thorkelson filed the present motion seeking reconsideration of this Court's

decision to deny his request as it relates to his desire to travel to Barbados over the

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New Year. Thorkelson asserts that he wants to take his family on vacation over

the holiday and ''to attend to matters associated with winding up of three of his

companies in Barbados." (Doc. 203 at 4.) Thorkelson provided the Court with a

letter from associated counsel in Barbados describing the various obligations

Thorkelson has in relation to the winding up of his Barbados enterprises. (Doc.

203-1.)

      After reviewing Thorkelson's Motion, the Court again denies his request.

Although Thorkelson has complied with his conditions of supervision thus far and

has satisfied the monetary obligations imposed upon him at sentencing, the Court

would be remiss to forget that Thorkelson is a mere eight months into a five-year

term of supervision imposed after a plea of guilty to a crime which permitted

Thorkelson to profit from the victimization of the United States' ailing citizens.

The Court appreciates Thorkelson's compliance but expects that criminal

defendants will comply with the conditions imposed upon their supervision. In

addition, Thorkelson has not provided any reason why he cannot conduct his

desired business activity remotely and the letter from counsel in Barbados makes

clear that the matters "could be dealt with electronically." (Doc. 203-1 at 4.)

Moreover, the Court is convinced that the opportunity to conduct these matters

electronically helps to further the objectives ofThorkelson's supervision, which


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include keeping the United States Probation Office apprised ofThorkelson's

financial situation and activity. Accordingly,

      IT IS ORDERED that Thorkelson's Motion (Doc. 202) is DENIED.

      DATED this l    O~day of December, 2018.



                                              Dana L. Christensen, Chief Judge
                                              United States District Court




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